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13
                                              UNITED STATES DISTRICT COURT
14
                                                  DISTRICT OF NEVADA
15
          UNION PACIFIC RAILROAD COMPANY, a                      Case No. 3:17-cv-00477-LRH-CLB
16        Delaware Corporation,
                                                                 WINECUP GAMBLE’S REQUEST FOR
17
                                     Plaintiff,                  ORAL ARGUMENT IN CONNECTION
18                                                               WITH JUNE 25, 2020 HEARING
                   v.
19
          WINECUP GAMBLE, INC., a Nevada
20        Corporation,
21                                   Defendant.
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                                                           -1-              Case No. 3:17-CV-00477-LRH-VPC

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 1            In ECF No. 177, the Court stated that it will issue an order “designating the motions that

 2   the court intends to hear argument on” at the upcoming hearing. To the extent the Court would

 3   like input from Winecup, Winecup believes oral argument will be helpful on the following

 4   motions:

 5            Winecup’s Motions

 6            •    Winecup’s 1st Motion in Limine to exclude Daryoush Razavian’s Testimony Related

 7                 to Mile Post 670.03 (ECF No. 141)

 8            •    Winecup’s 2nd Motion in Limine to exclude evidence and argument that N.A.C. §

 9                 535.240 applies to the 23-Mile Dam and Dake Dam (ECF No. 143)

10            •    Winecup’s 6th Motion in Limine to exclude evidence and argument related to the

11                 financial condition of Winecup, Paul Fireman, and the sale of the Winecup Gamble

12                 Ranch in 2019 (ECF No. 152)

13            Union Pacific’s Motions

14            •    Union Pacific’s 1st Motion in Limine to exclude meteorological opinions of Matt

15                 Lindon and to appoint a neutral expert (ECF No. 111)

16            •    Union Pacific’s 2nd Motion in Limine to exclude hydrological opinions of Matt

17                 Lindon and to appoint a neutral expert (ECF No. 112)

18            •    Union Pacific’s 5th and 6th Motions in Limine to bar two opinions of Derek Godwin

19                 (ECF No. 139)

20            •    Union Pacific’s 7th Motion in Limine to bar Winecup’s contributory negligence

21                 defense and Derek Godwin’s contributory negligence opinion (ECF No. 124)

22            •    Union Pacific’s 9th Motion in Limine to bar mention to jury of notion that Nevada’s

23                 dam statutes and regulations do not apply to the Winecup Dams due to their age (ECF

24                 No. 126)

25            •    Union Pacific’s 10th Motion in Limine requesting that the Court instruct the jury

26                 before trial about certain laws that apply to Nevada dam owners (ECF No. 127)

27            •    Union Pacific’s 11th Motion in Limine to bar rule 702 opinions (A) generally, if not in

28                 expert reports and (B) specifically, from Luke Opperman (ECF No. 128)

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 1            Winecup will be prepared to address any motion on which the Court wishes to hear

 2   argument.

 3    DATED: June 11, 2020                                /s/ Michael R. Menssen
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 1                                         CERTIFICATE OF SERVICE

 2                I, the undersigned, declare under penalty of perjury that I am over the age of eighteen (18)

 3       years, and I am not a party to, nor interested in, this action. On this date, I served a true and

 4       correct copy of the foregoing WINECUP GAMBLE’S REQUEST FOR ORAL ARGUMENT

 5       IN CONNECTION WITH JUNE 25, 2020 HEARING via CM/ECF electronic filing on the

 6       following:

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15                Attorneys for Plaintiff Union Pacific Company
16                DATED: June 11, 2020.
17

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                                                        /s/ Rose Gledhill
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